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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
vs. ) Cause No. 4:] 8-CR-00139-RWS-NAB
)
WILLIAM DOUGLAS HANING, )
)
Defendant. )

GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
FOR CHANGE OF VENUE

COMES NOW the United States of America, by and through, Jefferson Sessions,
Attorney General for the United States, Timothy A. Garrison, United States Attorney for the
Westem Distn`ct of Missouri, and Charles S. Birrningham and Gilbert C. Sison, Special
Attomeys to the United States Attomey General, and submits the following opposition to the
Defendant’s Motion for Change of Venue:

I. INTRoDUCTloN

Defendant Haning Was charged on February 14, 2018, With one count of conspiracy to
commit mail or Wire fraud in violation of 18 U.S.C. § 1349 and 30 counts of wire fraud in
violation of 18 U.S.C. §1343. The Indictment charged Defendant Haning With his involvement
in a wide ranging scheme relating to the adulteration, mislabeling and misbranding of various
protein ingredients produced and shipped from a facility in Rosser, Texas, that Were used in the
production of pet food. The facility Was owned by Wilbur-Ellis (“WE”), a corporation
headquartered in California, and Defendant Haning Was an employee of WE Who Worked at the
Rosser facility. Also relevant is the fact that Diversifled lngredients (“DI”), as the broker and

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distributor located in the Eastem District of Missouri, arranged for the shipment of various
protein ingredients from the Rosser facility to pet food manufacturers -the arrangement of
which was effectuated through the use of emails to and from the Eastem District of Missouri
between DI, WE and the Rosser facility.

Defendant Haning now seeks to transfer this case to the Northern District of Texas
(where he is a resident) pursuant to Rule 21(b) of the F ederal Rules of Criminal Procedure.
Speciflcally, he argues that the vast majority of the actions alleged in the Indictment occurred in
Texas, and as such, most of the witnesses and documentation that will be needed to litigate the
case are located in Texas. Defendant Haning further relies on the factors outlined in Platt v.
Minnesota Min. & Mfg. Co., 376 U.S. 240 (1964) to argue that the case should be transferred to
the Northem District of Texas.

Defendant Haning, however, is Wrong on both points. The indictment alleges that
Defendant Haning was involved in a conspiracy, and actions related to that conspiracy clearly
occurred in the Eastem District of Missouri. For example, invoices, shipping schedules,
contracts and purchase orders Were sent to and from this district. (Doc. 2, 1173). Payments were
also wired and mailed from this district (Doc. 2, 1172). Furthermore, the shipment of various
protein ingredients repeatedly travelled through the district. (Doc. 2, 1|74). Moreover, each wire
fraud count (Counts 2 through 31) involved a wire communication to and from the Eastem
District of Missouri. (Doc. 2, 1|83). As such, venue is properly established in the Eastem
District of Missouri. Furthermore, the balancing of the Platt factors do not warrant a transfer to
the Northem District of Texas. For these and the foregoing reasons stated below, Defendant

Haning’s motion for a change of venue should be denied.

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II. ARGUMENT
A. VENUE IS PROPERLY ESTABLISHED lN THE EASTERN DISTRICT OF MlSSOURl
BECAUSE ACTS RELATED TO THE CONSPIRACY AND THE CONTlNUlNG OFFENSES
ALLEGED lN THE INDlCTMENT WERE COMMlTTED lN THIS DISTRlCT.

In his motion for change of venue, Defendant Haning argues that he has never set foot
within the Eastem District of Missouri. (Doc. 18, p. 2). He further argues that the Indictment
alleges minimal conduct which occurred in the Eastem District of Missouri, but notes that much
of the alleged conduct involves persons and entities located within Texas. (Doc. 18, p. 2). While
the Govemment disputes Defendant Haning’s characterization of the Indictment, even assuming
that it is true, it does not serve as a legitimate basis to transfer the proceedings to the Northern
District of Texas. The number of indictable acts committed in the trial forum as compared to
indictable acts committed elsewhere is not a relevant factor in considering motions for transfer.
See United States v. Luros, 243 F. Supp. 160, 177 (N.D. Iowa). This is because nothing in the
law suggests that a court should favor holding a trial near the defendant’s residence and business
simply because it is near that situs, as opposed to where his crimes had their impact.

Indeed, it is well settled that venue as to prosecution of all members of a conspiracy lies
either in the jurisdiction in which the conspiratorial agreement Was formed or in any jurisdiction
in which an overt act in furtherance of the conspiracy was committed Section 3237 provides as
follows:

Except as otherwise expressly provided by enactment of Congress, any offense against

the United States begun in one district and completed in another, or committed in more

than one district, may be inquired of and prosecuted in any district in which such offense
was be gun, continued, or completed
18 U.S.C. § 3237(a). See also United States v. Hull, 419 F.3d 762, 768 (8th Cir. 2005), cert.

denied, 547 U.S. 1140 (2006)(stating that “[i]n a conspiracy case, venue is proper in any district

in which any act in furtherance of the conspiracy was committed by any of the conspirators even

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though some of them were never physically present there.”); United States v. Kim, 246 F.3d 186,
193 n.5 (2nd Cir. 2001)(noting that venue is proper in a conspiracy prosecution in any district in
which an overt act was committed by any of the coconspirators). Moreover, the next paragraph
specifically provides that any offense “involving the use of the mails, [or] transportation in
interstate or foreign commerce . . . is a continuing offense and . . . may be inquired of and
prosecuted in any district from, through, or into which such commerce, mail matter, or
imported object or person moves.” 18 U.S.C. § 3237(a) (emphasis added).

Here, many acts in furtherance of the conspiracy took place within the Eastem District of
Missouri. The scheme, for example, involved brokers and distributors, specifically DI, which is
a Missouri corporation located in the Eastem District of Missouri. In addition to DI being
headquartered in Missouri, Defendant Haning correctly notes that certain checks and bills of
lading Were mailed Within this district. (Doc. 2, ‘[[‘|17, 15). The bills of lading, for example,
played a critical role in concealing the scheme as Defendant Haning and others used these
shipping documents knowing that the use of the documents would misrepresent what was
actually being shipped from the Rosser facility. (Doc. 2, 1]1|66-67). The bills of lading used in
shipping were provided by DI. Id.

Defendant Haning also correctly notes that emails were sent to and from this district.
(Doc. 2, 1173). Defendant Haning and others transmitted and caused to be transmitted these
emails in furtherance of the scheme to defraud. For example, the emails included and/or
pertained to contracts, purchase orders and agreements for adulterated, misbranded and/or
mislabeled products shipped from the Rosser facility. (Doc. 2, 1|73). The emails also included
and/or pertained to bills of lading and certificates of analysis which misrepresented the products

being shipped from the Rosser facility. (Doc. 2, 1[1[66-67, 73). Finally, all of the wire fraud

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counts alleged in the Indictment involve wire communications to and from the Eastem District of
Missouri. (Doc. 2, 1183). The wire communications underlying these counts involved emails
relating to bills of lading, certificates of analysis, invoices, shipping schedules, weights and
estimated times of arrival for various shipments Id.

Finally, Defendant Haning acknowledges that specific shipments were transported
through the Eastem District of Missouri. (Doc. 2, 1174). Defendant Haning and others shipped or
caused to be shipped adulterated, misbranded and/or mislabeled protein ingredients into the
stream of commerce For example, on March 21 , 2014, a shipment of more than 50,000 pounds
of mislabeled and adulterated chicken meal (low ash) was sent from the Rosser facility and
transported through the Eastem District of Missouri. (Doc. 2, 1|74). Similarly, on April 4, 2014,
another shipment of more than 50,000 pounds of mislabeled and adulterated chicken meal (low
ash) was sent from the Rosser facility and transported through this district. Id.

Based on the above, the allegations in the lndictrnent make clear that venue is properly
situated in the Eastem District of Missouri pursuant to both paragraphs of Section 3237(a).

B. THE BALANCING OF THE RELEVANT PLA TTFACTORS DO NOT WARRANT A
TRANSFER OF VEN UE TO THE NORTHERN DISTRICT OF TEXAS.

1. Legal standards and burdens.

Rule 21 of the Federal Rules of Criminal Procedure addresses the transfer of criminal
matters between districts for purposes of trial. Rule 21 (b) concerns transfers for convenience (as
opposed to transfers due to prejudice under Rule 21(a)). Rule 21(b) reads as follows:

Upon the defendant’s motion, the court may transfer the proceeding, or one or more

counts against the defendant to another district for the convenience of the parties, any

victim and witnesses, and in the interests of justice.

Fed. R. Crim. Proc. 21(b). The decision whether to grant or deny a Rule 21(b) motion rests with

the sound discretion of the district court. See United States v. Green, 983 F.2d 100, 103 (8th Cir.

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1992); United States v. McGregor, 503 F.2d 1167, 1169 (8th Cir.l974); Um'ted States v. Phl`lll`ps,
433 F.2d 1364, 1368 (8th Cir.l970). The defendant bears the burden of showing that the matter
should be transferred See United States v. Kanner, No. 07-CR-lO23-LRR, 2008 WL 2663414 at
*5 (N.D. Iowa June 27, 2008)(citing cases). See also United States v. Estrada, 880 F.Supp.2d
478,482 (S.D.N.Y.2012)(stating that “[c]ourts in this district have uniformly placed the burden
on the defendant to show that the interests of justice require transfer.”).

2. The Platt factors.

ln considering Rule 21(b) motions, the Eighth Circuit applies the ten factors found in
Platt v. Minnesota Min. & Mfg. Co., 376 U.S. 240 (1964) (“Platt factors”). See, e.g., United
States v. McGregor, 503 F.2d ll67, 1170 (8th Cir. 1974); Lopez, 343 F. Supp. 2d at 835. The
ten Platt factors are: (l) the location of the defendant; (2) the location of the witnesses; (3) the
location of the events in issue; (4) the location of the documents and records likely to be used at
trial; (5) any disruption of a defendant’s business; (6) the expense to the parties; (7) the location
of counsel; (8) the accessibility of the place of trial; (9) the docket condition of the respective
districts; (10) any other considerations that might affect transfer. See Lopez, 343 F. Supp.2d at
835 (enumerating Platt factors); see also Kanner, 2008 WL 2663414 at *6-8. The Court must
balance these factors and assess which factors are of most importance in the case; no single
factor is dispositive. See Kanner, 2008 WL 2663414 at *5 (cz'ting United States v. Malclonado-
Rivera, 922 F.2d 934, 966 (2nd Cir. 1990)); Unitea' States v. Valenciano, No. CRO6-4082MWB,
2006 WL 4046179 at *4 (N.D. Iowa 2006)(same).

Prior to analyzing the Platt factors, it must be recognized that every litigation,
particularly a criminal prosecution, imposes burdens upon a defendant As such, it is naturally

expected that there will be disruption and dislocation to a defendant’s normal occupational and

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personal activities. The burdens imposed and inconvenience suffered vary from case to case and
from defendant to defendant With respect to this case, it is no different from any other. No
matter where this trial is conducted, there Will be inconvenience to the parties, their executives,
their counsel and their witnesses But mere inconvenience, interference with one's routine
occupational and personal activities, and other incidental burdens which normally follow When
one is called upon to resist a serious charge do not ipso facto make the necessary showing that a
transfer is required in the interest of justice.

As a general rule a criminal prosecution should be retained in the original district. See
United States v. Spy Factorjy, Inc., 951 F. Supp. 450, 464 (S.D.N.Y. 1997). To warrant a transfer
from the district where an indictment was properly returned it should appear that a trial there
would be so unduly burdensome that fairness requires the transfer to another district of proper
venue where a trial would be less burdensome; and, necessarily, any such determination must
take into account any countervailing considerations which may militate against removal. See
United States v. Culoso, 461 F. Supp. 128, 136-137 (S.D.N.Y. 1978), ajj"a', 607 F.2d 999 (2nd
Cir. 1979). Indeed, a defendant must demonstrate a substantial balance of inconvenience to
himself if he is to nullify the prosecuting attorney’s proper choice of venue. See United States v.
Luros, 241 F. Supp. 160, 174-177 (N.D. Iowa).

Here, Defendant Haning analyzes the various Platt factors and concludes that the great
weight of the factors favors a transfer to the Northern District of Texas. The Government,
however, disagrees and responds to each of the factors identified by Defendant Haning as

follows:

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a. Location of Defendant

Defendant Haning argues that the Northem District of Texas is the more appropriate
venue because he is a lifelong resident of Texas and that much of the conduct alleged in the
Indictment occurred at WE’s facility in Rosser, Texas. The Indictment, however, alleges a
wide~ranging conspiracy involving the Defendant and others. And, while at the moment,
Defendant Haning is the only defendant charged, the Government anticipates that a superseding
indictment may be filed that could include other individuals and entities. Presently, other entities
and individuals are charged in a related matter pending in this district, some of which are located
within the Eastem District of Missouri.

b. Location of Witnesses

Defendant Haning argues that most of the witnesses for this matter are located in Texas.
Defendant Haning points to possible Witnesses such as employees of the Rosser facility, as well
as members of the Offrce of the Texas State Chemist Who investigated the Rosser facility. While
Defendant Haning correctly points out that these are potential witnesses, they are not the only
witnesses, nor do they represent the majority of potential Witnesses. For example, none of the
pet food manufacturers identified in the Indictment are located in Texas. Pet Food Manufacturer
A is located in Indiana. (Doc. 2, 1111). Pet Food Manufacturer B is located in Connecticut.
(Doc. 2, ‘[[12). Pet Food Manufacturers B-l through B-3 are located in Kansas. Id. Pet Food
Manufacturer B-4 is located in Pennsylvania. Id. And, Pet Food Manufacturers B-5 and B-6 are
located in Minnesota. Id. Moreover, DI and its employees are located in the Eastem District of
Missouri. Finally, agents from the Federal Bureau of Investigation (“FBI”), the United States

Postal Inspection Service (“USPIS”) and the United States Food and Drug Administration

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(“USFDA”) will be witnesses at any future trial, and they are all located in this district, This
factor does not weigh in favor of a transfer.
c. Location of Events at Issue

Defendant Haning argues that the events at issue occurred mostly in Texas because the
facility that adulterated, mislabeled and misbranded protein ingredients is located in Rosser,
Texas. However, the Indictment alleges the actions of various individuals, which took place in
multiple jurisdictions, including the Eastem District of Missouri. For example, Defendant
Haning seeks to downplay the role of the broker and distributor located within this district, The
sending and receipt of emails by individuals located in the Eastem District of Missouri
(specifrcally at DI) is an event significant to the Government’s case. Of course, the payments
originating from this district for adulterated products is equally significant In addition, the
documents used in the mislabeling and misbranding, i.e., Bills of Lading and Certificates of
Analysis, often originated in the Eastem District of Missouri. This factor likewise does not
warrant a transfer.

d. Location of Documents and Records

Defendant Haning argues that the relevant documents and records are located in Texas.
While that is true, Defendant Haning also correctly notes that certain records and documents are
located at WE’s corporate headquarters in California. Relevant documents are also located at DI,
which is located within this district, In fact, relevant documents and records are located all over
the country. That being said, the Government has compiled relevant documents and records
from a number of sources. And, the Govemment, as part of its discovery obligations, intends to

provide that discovery to Defendant Haning, Thus, there is no need to transfer this case to the

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Northern District of Texas simply because some relevant documents and records are located in
Texas.
e. Disruption of Defendant’s Business
Defendant Haning argues that he is presently assisting as the director of marketing for his
wife’s business, which is a home healthcare and hospice business with approximately 25
employees Defendant further notes that this business will be substantially disrupted if the case
is not moved to the Northern District of Texas. However, the discovery in this case is quite
voluminous, and a trial in this matter will probably not take place for some time. This should
give Defendant Haning and his family sufficient time to accommodate his absence if he should
proceed to trial. Defendant Haning has not identified anything outside of the typical burdens
associated with defending a criminal case that would justify a transfer of this matter.
f. Expense to Parties
Defendant Haning argues that a trial in this district will cause him significant and
unnecessary expense. However, “it is not the size of the additional expense but the defendant’s
ability to bear that expense that is the relevant consideration in questions of transfer. See Luros,
243 F. Supp. at 175 (citing United States v. White, 95 F. Supp. 544 (D. Neb. 1951)). Here,
Defendant Haning has not identified any inability in bearing such an expense. In fact, Defendant
Haning noted that he has hired the services of multiple counsel in the Fort Worth area. That
being said, none of Defendant Haning’s attorneys in Texas have entered their appearance in this
case.
g. Location of Counsel
Defendant Haning argues that because of this case he has been forced to retain the

services of three attorneys located in Fort Worth, Texas. Defendant Haning further notes that the

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current prosecutors are designated as “Special Attomeys to the United States Attomey General”
and therefore may not be tied to the Eastem District of Missouri. Specifically, three prosecutors
from the Eastem District of Missouri have been so designated, and even though said prosecutors
are not supervised by the Eastem District of Missouri, they nonetheless reside within the district
This represents a countervailing consideration which also counsels against transfer.
h. Relative Accessibility of Place of Trial
Defendant Haning argues that if he is required to defend the trial in the Eastem District of
Missouri, he will have to uproot his entire life and spend significant periods of time away from
his family and business and incur substantial and unnecessary expenses. However, this factor
relates to the accessibility of the place of trial, rather than expense which is covered in another
factor. The Eastem District of Missouri is easily accessible by air, especially from a major city
such as Dallas, Texas. Because Dallas, Texas, serves as a major airport hub, it is relatively easy
to find non-stop flights to and from the Eastern District of Missouri. Defendant Haning has not
identified any specific problems with the accessibility of the Eastem District of Missouri, and as
such, this factor does not weigh in favor of transfer.
i. Docket Condition of Each District Involved
Defendant Haning acknowledges that this factor neither favors nor disfavors transfer to
the Northem District of Texas, and the Government concurs.
j. Any other considerations which might affect transfer
Defendant Haning has not raised any other considerations which might affect transfer.
However, the Government notes that there is already a related case pending in the Eastem
District of Missouri. The matter is styled as United States v. Hemjy Rychlik, et al., No. 4:17-CR-

00100-NAB. This case has charged the corporate entities identified in the current Indictment

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(WE and DI), as well as individuals employed by said entities, With introducing adulterated
and/or misbranded food into interstate commerce in violation of Title 21 , United States Code,
Sections 331(a) and 33 3(a)(1). Additionally, a related civil case styled as The Blue Buffalo
Company, Ltd. v. Wilbur-Ellis Company LLC, et al., No. 4:14-CV-00859-RWS, is pending in
this district. Some of the entities identified in the Indictment, i.e., WE, Dl and Custom Ag, are
parties in this civil case.
III. CONCLUSION

To summarize, none of the Platt factors weigh in favor of transfer. Defendant Haning
has not shown that the interests of justice require deviation from the “general rule” that “a
criminal prosecution should be retained in the original district.” United States v. Estraa'a, 880
F.Supp.2d 478, 485 (S.D.N.Y.2012). It would not be in the interest of judicial economy to
burden another court with the trial of this case, or even with the trial of just Defendant Haning by
himself. As such, this Court should decline to exercise its discretion to transfer this case to the

Northem District of Texas.

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Dated: March 21, 2018.

Respectfully submitted,

JEFFERSON SESSIONS

United States Attorney General
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United States Attomey

WESTERN DISTRICT OF MISSOURI

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was distributed through the
Court’s CM/ECF system on March 21, 2018, to the following attorneys of record:

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